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                          UNITED STATES DISTRICT COURT
                          MIDDLE DISTRICT OF LOUISIANA

PRESS ROBINSON, EDGAR CAGE,
DOROTHY NAIRNE, EDWIN RENE
SOULE, ALICE WASHINGTON, CLEE
EARNEST LOWE, DAVANTE LEWIS,
MARTHA DAVIS, AMBROSE SIMS,
NATIONAL ASSOCIATION FOR THE                Civil Action No. 3:22-cv-00211-SDD-RLB
ADVANCEMENT OF COLORED PEOPLE
(“NAACP”) LOUISIANA STATE
CONFERENCE, AND POWER COALITION
FOR EQUITY AND JUSTICE,
                 Plaintiffs,

                          v.

NANCY LANDRY, in her official capacity as
Secretary of State for Louisiana,

                   Defendant.

EDWARD GALMON, SR., CIARA HART,
NORRIS HENDERSON, TRAMELLE
HOWARD,
              Plaintiffs,                   Civil Action No. 3:22-cv-00214-SDD-RLB

                          v.

NANCY LANDRY, in her official capacity as
Secretary of State for Louisiana,

                 Defendant.




GALMON PLAINTIFFS’ MOTION TO EXPEDITE CONSIDERATION OF MOTION
   TO RECONSIDER DISMISSAL RULING AND TO SCHEDULE REMEDIAL
                         PROCEEDINGS
       Case 3:22-cv-00211-SDD-SDJ         Document 373        05/01/24 Page 2 of 2




      For the reasons stated in the accompanying memorandum, Edward Galmon, Sr., Ciara Hart,

Norris Henderson, and Tramelle Howard (“Galmon Plaintiffs”) respectfully move for expedited

consideration of their Motion to Reconsider Dismissal Ruling and Schedule Remedial

Proceedings, ECF No. 372.



Date: May 1, 2024                        Respectfully submitted,


                                         By: /s/Abha Khanna
 J. E. Cullens, Jr.                           Abha Khanna (admitted pro hac vice)
 Andrée Matherne Cullens                      ELIAS LAW GROUP LLP
 S. Layne Lee                                 1700 Seventh Ave. Suite 2100
 WALTERS, THOMAS, CULLENS, LLC                Seattle, Washington 98101
 12345 Perkins Road, Bldg. One                (206) 656-0177
 Baton Rouge, LA 70810                        akhanna@elias.law
 (225) 236-3636
                                                Lalitha Madduri (admitted pro hac vice)
                                                Jacob D. Shelly (admitted pro hac vice)
                                                Daniel Cohen (admitted pro hac vice)
                                                Qizhou Ge (admitted pro hac vice)
                                                ELIAS LAW GROUP LLP
                                                250 Massachusetts Ave, NW Suite 400
                                                Washington, D.C. 20001
                                                (202) 968-4490

                                                Counsel for Galmon Plaintiffs




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